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 9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 12-cr-00169MCE
                      Plaintiff,        )
12                                      ) STIPULATION AND
           v.                           ) ORDER TO CONTINUE
13
                                        ) STATUS CONFERENCE
14                                      )
     ERIC ROBINSON,                     )
15
                                        ) Date: 10-23-14
16                    Defendant.        ) Time: 9:00 a.m.
     ________________________________) Judge: Hon. Morrisson C. England
17

18                  Plaintiff United States of America, by and through its counsel of record,

19   and defendant Eric Robinson, by and through his counsel of record, hereby stipulate as
20
     follows:
21
           1.       By previous order, this matter was set for status September 18, 2014.
22

23         2.       By this stipulation, defendant now moves to continue the status
24
     conference until October 23, 2014, and to exclude time between September 18, 2014
25
     and October 23, 2014, under Local Code T4. Plaintiff does not oppose this request.
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27         3.       The parties agree and stipulate, and request that the Court find the
28   following:


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 1          a.       The government has represented that the discovery associated with this
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     case includes approximately 1, 952 pages of investigative reports and related documents
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     in electronic form and many hours of recorded telephone calls. All of this discovery has
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 5   been either produced directly to counsel and / or made available for inspection and
 6
     copying.
 7
            b.       Counsel for defendant desires additional time to complete the review of
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 9   discovery, to conduct defense investigation, and to discuss potential resolution with her
10
     client. Counsel has also been continuing to engage in negotiations with the government.
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     In particular, Mr. Robinson has a current pending matter in Solana County that the
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13   government and counsel are attempting to negotiate a global resolution. .

14          c.       Counsel for defendant believes that failure to grant the above-requested
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     continuance would deny her the reasonable time necessary for effective preparation,
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     taking into account the exercise of due diligence.
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18          d.       The government does not object to the continuance.
19
            e.       Based on the above-stated findings, the ends of justice served by
20
     continuing the case as requested outweigh the interest of the public and the defendant in
21

22   a trial within the original date prescribed by the Speedy Trial Act.

23          f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
24
     § 3161, et seq., within which trial must commence, the time period of September 17,
25

26
     2014 to October 23, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§

27   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
28
     the Court at defendant’s request on the basis of the Court's finding that the ends of


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 1   justice served by taking such action outweigh the best interest of the public and the
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     defendant in a speedy trial.
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            4.     Nothing in this stipulation and order shall preclude a finding that other
 4

 5   provisions of the Speedy Trial Act dictate that additional time periods are excludable
 6
     from the period within which a trial must commence.
 7
     IT IS SO STIPULATED.
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 9

10   Dated: September 14, 2014                       Respectfully submitted,
11                                                   /s/ Kelly Babineau
12                                                   KELLY BABINEAU
                                                     Attorney for Eric Robinson
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15   Dated: September 14, 2014                       /s/ Jason Hitt
                                                     Kelly Babineau for:
16
                                                     JASON HITT
17                                                   Assistant U.S. Attorney
18
                                             ORDER
19

20
            IT IS SO FOUND AND ORDERED.
21
     Dated: September 24, 2014
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